Case 8:24-cv-02212-AH-DFM   Document 1-1   Filed 10/11/24   Page 1 of 40 Page ID
                                    #:10




                  EXHIBIT A
                       CieCtfUniCatly rllfa Uy Jr.fpfric)r l.rUurl 01 laiifltC%ffll~, L,.ourlly Ut Vran(1f, UCS/U:1/Ll,JG~! I I. IU. IG h5{VI.
           Case 8:24-cv-02212-AH-DFM
     - 30-2024-01zi18646-CU-PO-NJC - ROA # 4 -Document   1-1 Filed
                                              DAVID H. YAIUiASAKI,     10/11/24
                                                                   Clerk of the CotarY Page   2 of 40Deputy
                                                                                       i3y R. Gardea,  PageClerk.
                                                                                                            ID
                                                                                #:11
                                                                                                                                                         SUM-100
                                                        SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                                 (CITACION JUDICIAL)

     NOTICE TO DEFENDANT:
     (AVISO AL DEMANDADO):
     CRYORORT, INC.


     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTE):

     S.W. and V.W.
            ! You have been sued. The court may decide against you without your being heard unless you respondwithin 30 days. Read

        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
     Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
     court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
     be taken without further warning from the court.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
     referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
     (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any sett!ement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
     !A VlSO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
     continuacidn.
        Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
     corte y hacer que se entregue una copia al demandante. Una carta o una (lamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
     en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
     Puede encontrar estos formularios de la corte y mfis informacidn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
     biblioteca de leyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la corte que
     le de un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
     quitar su sueldo, dinero y bienes sin más advertencia.
        Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un setvicio de
     remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
     programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
     (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
     colegio de abogados locales. A VISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
     cualquier recuperacidn de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
     pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

     The name and address of the court is: North JustiCe Center                                    (Nueroud BCaSo):
     (El nombre y direccion de la corte es):                                                                          3 C[ -2 0 z+1-01418 646 -C IJ -F' Q-NJ C.
                                                   1275 North Berkeley Avenue
rg                                                 Fullerton CA 92832                ~s~i~n~c1 *>~r            audge ScottA Steiner
     The name, address, and telephone number of plaintiffs attorney, or p!aintiffwithout an attorney, is:
     (El nombre, la direcci6n y el numero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
     Adam E. Polk, Girard Sharp LLP, 601 California Street, Suite 1400, San Francisco, CA 94108 Tel: 415.981.4800
     DATE:        Ci ~f0~f2ij24 OAVID H. YAh1A8AKI, Clerk ofthe Court              Clerk, by       /~
                                                                                                    j                 /~             R ~;dr,j,, a          Deputy
                                                                                                    rt                hClh6^~
                                                                                                                            Q                            (Adjunto)
     (For proof of service of this summons, use Proof of Service of Summons (fonn POS-010).)
     (Para prueba de entrega de esta citatidn use el formulario Proof of Service of Summons, (POS-010)).
      [SEAL]                                NOTICE TO THE PERSON SERVED: You are served
                                            1.      as an individual defendant.
                                            2.          as the person sued under the fictitious name of (specify):

                                            3.    xx on behalf of (specify): Cryoport, Inc.
                                                 under: xx CCP 416.10 (corporation)                             0       CCP 416.60 (minor)
                                                             CCP 416.20 (defunct corporation)                   0       CCP 416.70 (conservatee)
                                                             CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                             other (specify):
                                            4.   O    by personal delivery on (date):
                                                                                                                                                             Page 1 of 1
     Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
                                                                            SUMMON.S
       Judicial Council of Califomia                                                                                                                  rr.wr.co~r!s.r,-~.,gov
       SUM-100 [Rev. July 1, 2009]
                  CleC:ifUrllLdny t"tIeG Uy .7UIJeflUr L..UUrI Vl l..dIlIUtfll, t~Uuni.y (JI tJrdrKje, Vo/uJ(LULzF I I. ll.r. i                         tVl.
        Case 8:24-cv-02212-AH-DFM
     30-2024-01 86~6-CiJ-PO-NJC .. ROA # 3-Document  1-1 Filed
                                           DAVID H. YAMASAK1, Cler10/11/24
                                                                   of the Court Page  3 of 40DeP.lty
                                                                                By R. Gardea,  PageCler'<.
                                                                                                     ID
                                                                              #:12
                                                                                                                                                                      CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                                    FOR COURT USE ONLY
Adam E. Polk (State Bar No. 273000)
Girard Sharp LLP, 601 California Street, Suite 1400, San Francisco, CA 94108

TELEPHONE NO.: 415,981,4800                             FAx NO.: 415.981.4846
EMAIL ADDRESS: apolK@girardsharp.com
ATTORNEY FOR (Name): Plalntlff3 S.W. and V.W.

SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 STREETADDRESS:        North Justice Center
 MAILINGADDRESS:                                                                                        rg
                      1z7 JC' North Berkeley AVer1Ue                                                    rg
CITY AND ZIP CODE:
      BRANCH NAME:
                      Fullerton,      CA 92832

CASE NAME:
 S.W, et al. v. CRYOPORT, INC.

          CIVIL CASE COVER SHEET                                                                                  CASENUMBER:
                                                                Complex Case Designation
0         Unlimited              0     Limited                      Counter              0    Joinder                   CI-f024-01418f46-CLI-F'0-NJC
          (Amount                      (Amount
                                                        Filed with first appearance by defendant                  JUDGE:            J
          demanded                     demanded is                                                                              j u U l~ rS C C'tt A :_ te i ne r
                                                            (Cal. Rules of Court, rule 3.402)                     DEPT.:
          exceeds $35,000)             $35,000 or less)

 1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                           Provisionally Complex Civil Litigation
             Auto (22)                                     0      Breach of contract/warranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
            Uninsured motorist (46)                        0      Rule 3.740 collections (09)                          Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                    Other collections (09)                      0        Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                      Mass tort (40)
                                                           0      Insurance coverage (18)                     0
             Asbestos (04)                                         Other contract (37)                                 Securities litigation (28)
             Product liability (24)                                                                           0     Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                         0     Insurance coverage claims arising from the
                                                                   Eminent domain/Inverse
      OX     Other PI/PD/WD (23)                                                                                    above listed provisionally complex case
                                                                  condemnation (14)
                                                                                                                    types (41)
      Non-PI/PD/WD (Other) Tort                                   Wrongful eviction (33)                      Enforcement of Judgment
      0      Business tort/unfair business practice (07)        Other real property (26)                      ~        Enforcement of judgment (20)
      0      Civil rights (08)                             Unlawful Detainer
                                                                                                               Miscellaneous Civil Complaint
             Defamation (13)                                      Commercial (31)
      [                                                                                                       0        RICO (27)
             Fraud (16)                                    0      Residential (32)
                                                                                                                       Other complaint (not specified above) (42)
             Intellectual property (19)                    0     Drugs (38)
                                                                                                               Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                                                                       Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)                    0      Asset forfeiture (05)
                                                           0      Petition re: arbitration award (11)         0        Other petition (not specified above) (43)
      Employment
             Wrongful termination (36)                     0      Writ of mandate (02)
             Other employment (15)                         0      Otherjudicial review (39)

2.  This case              is           is not  complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
                                                                       d. 0     Large number of witnesses
   a. 0           Large number of separately represented parties
                                                                       e.       Coordination with related actions pending in one or more
   b. jjjjjjjjjjj Extensive motion practice raising difficult or novel
                                                                                courts in other counties, states, or countries, or in a federal
                  issues that will be time-consuming to resolve
                                                                                court
   c. 0           Substantial amount of documentary evidence                    Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. x~ monetary b. ®                nonmonetary; declaratory or injunctive relief c. Ox punitive
4. Number of causes of action (specify): 6
5. This case               is    ~ x is not     a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: August 9, 2024
Adam E. Polk
                            (TYPE OR PRINT NAME)                                                             SIGNAI$   E OF PARTY OR ATTORNEY FOR PARTY
                                                                                NOTICE
 •     Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
      the action or proceeding.
 •    Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Pa9e i of 2
Form Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of Califomia
                                                               CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration. std. 3.10
        Case 8:24-cv-02212-AH-DFM                      Document 1-1              Filed 10/11/24           Page 4 of 40 Page ID
                                                               #:13
                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                    Contract                                            Provisionally Complex Civil Litigation (Cal.
      Auto (22)—Personal Injury/Property           Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                     Breach of Rental/Lease                             Antitrust/Trade Regulation (03)
         Uninsured Motorist (46) (if the                    Contract (not unlawful detainer               Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                     Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach—Seller                    Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)           Environmental/Toxic Tort (30)
        instead ofAuto)                                Negligent Breach of Contract/                      Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                          Warranty                                             (arising from provisionally complex
  Property Damage/Wrongful Death) Tort                 Other Breach of Contract/Warranty                         case type listed above) (41)
      Asbestos (04)                                Collections (e.g., money owed, open             Enforcement of Judgment
         Asbestos Property Damage                      book accounts) (09)                              Enforcement of Judgment (20)
         Asbestos Personal Injury/                     Collection Case—Seller Plaintiff                     Abstract of Judgment (Out of County)
               Wrongful Death                          Other Promissory Note/Collections Case           Confession of Judgment (non-domestic
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                     relations)
          toxic%nvironmental) (24)                     complex) (18)                                    Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                                 Administrative Agency Award
           Medical Malpractice—                        Other Coverage                                       (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                                  Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                     Judgment on Unpaid Taxes
             Malpractice                               Other Contract Dispute                            Other Enforcement of Judgment Case
      Other PI/PD/WD (23)                      Real Property                                       Miscellaneous Civil Complaint
           Premises Liability (e.g., slip          Eminent Domain/Inverse                                RICO (27)
                and fall)                              Condemnation (14)                                 Other Complaint (not specified above) (42)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                                     Declaratory Relief Only
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)               Injunctive Relief Only (non-
           Intentional Infliction of                   Writ of Possession of Real Property                         harassment)
                Emotional Distress                     Mortgage Foreclosure                                   Mechanics Lien
           Negligent Infliction of                     Quiet Title                                            Other Commercial Complaint
                 Emotional Distress                    Other Real Property (not eminent                            Case (non-tort/non-comptex)
           Other PI/PD/WD                              domain, landlord/tenant, or                            Other Civil Complaint
  Non-PI/PD/WD (Other) Tort                            foreclosure)                                                (non-tort/non-comptex)
      Business Tort/Unfair Business            Unlawful Detainer                                   Miscellaneous Civil Petition
          Practice (07)                            Commercial (31)                                       Partnership and Corporate
      Civil Rights (e.g., discrimination,          Residential (32)                                          Governance (21)
            false arrest) (not civil               Drugs (38) (if the case involves illegal              Other Petition (not specified above) (43)
            harassment) (08)                       drugs, check this item; otherwise,                        Civil Harassment
      Defamation (e.g., slander, libel) (13)       report as Commercial or Residential)                      Workplace Violence
      Fraud (16)                               Judicial Review                                               Elder/Dependent Adult Abuse
      Intellectual Property (19)                   Asset Forfeiture (05)                                     Election Contest
      Professional Negligence (25)                 Petition Re: Arbitration Award (11)                       Petition for Name Change
          Legal Malpractice                        Writ of Mandate (02)                                      Petition for Relief From Late Claim
          Other Professional Malpractice               Writ—Administrative Mandamus                          Other Civil Petition
               (not medical or legal)                  Writ—Mandamus on Limited Court
      Other Non-PI/PD/WD Tort (35)                         Case Matter
  Employment                                           Writ—Other Limited Court Case Review
      Wrongful Termination (36)                    Other Judicial Review (39)
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal—Labor Commissioner

CM-0101Rev. January 1, 2024]                                                                                                               Page 2 of 2
                                                          CIVIL CASE COVER SHEET
       Case 8:24-cv-02212-AH-DFM                           Document 1-1               Filed 10/11/24              Page 5 of 40 Page ID
                                                                   #:14                                                  FORCOURTUSEONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREETADDRESS: 1275 N. Berkeley Ave
                                                                                                                            F!      LE   D
MAILING ADDRESS: 1275 N. Berkeley Ave
                                                                                                                    SUPERft)R COURT OFCALIFCaRNlA
CITY AND ZIP CODE: Fullerton 92838                                                                                         COUN7YOFORANGE
BRANCH NAME: North Justice Center
PLANTIFF: S. W. et.al.
                                                                                                                        Aug 15, 2024
DEFENDANT: Cryoport, Inc.
                                                                                                                            Clerk of the Court
Short Title: W. VS. CRYOPORT, INC.                                                                                        Ey: R. Gardea, Deputy



                                                                                                          CASE NUMBER:
                             NOTICE OF HEARING                                                             30-2024-01418646-CU-PO-NJC
                       CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 01/14/2025 at 09:00:00 AM in Department N18 of this court, located at North Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.



    IFC}RTAa: Pr.cr s.o y"cur lleai"iilg dare.: pleast cliecla tlle Ccu_:a's vehsite for the n]osi current iiastrtaction.s
  regar.lin hC•v to appear for yc•tir heari aild acczss stwr:iCe,3 thaL are ai"a11ahie. to a's15'xeYvOt1?' qLIeS?10L1S.
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  T?~IP'QRTATE: Ant.s de la fee:h, cli su auc:enr-ia, visitti e1 tiitio veh dt la Cc<rte par_ saber cuåles ≥io•i? las
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  QT.._A'ti TRC3~G: Trtr'cc ngay lahièai tõa ciaa quz: vi, viii lrylr__ ki~tn tra t€-ang ri]alig cu= tòa an                         bizt nlrunr
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                                                 Clerk of the Court, By: " ?U~_                               L~Ct~t?~&'_-                         , Deputy

                                                                                                                                                             1
                                                             NOTICE OF HEARING                                                                       Page:
       Case 8:24-cv-02212-AH-DFM               Document 1-1          Filed 10/11/24       Page 6 of 40 Page ID
                                                       #:15
    SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
    North Justice Center
    1275 N. Berkeley Ave
    Fullerton 92838

   SHORT TITLE: W. VS. CRYOPORT, INC.



                                                                                              CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                     30-2024-01418646-CU-PO-NJC

      I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
      placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
      pursuant to standard court practices and addressed as indicated below. The certification occurred at Fullerton
      California, on 08/15/2024. Following standard court practice the mailing will occur at Sacramento, California on
      08/16/2024.



                                           Clerk of the Court, by:                                                       , Deputy
     GIRARD SHARP LLP
     601 CALIFORNIA STREET # 1400
     SAN FRANCISCO, CA 94108




                                                                                                                               Page: 2
                                      CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                  Code of Civil Procedure ,§ CCP1013(a)
          CICC;t€C7rliCealiiy i"'It~u 7.)y ."~..1!(Je IiV€   Vi lsckiilClrYli~, L,Vurlly Ui Vr~rlCg~, UC7tU 11LVG'} I I. Il,t. €¿
     Case1418646-CU-PO-fyJC
          8:24-cv-02212-AH-DFM
                            - ROA # 2-Document   1-1 Filed
                                      DAVID H. YAi~ASAKI,     10/11/24
                                                          Cierk ot the Court Page  7 of 40 Deputy
                                                                             Sy R. Garea,   PageClerk.
                                                                                                  ID
                                                #:16


 1     Dena C. Sharp (State Bar No. 245869)
       dsharp@girardsharp.com
 2     Adam E. Polk (State Bar No. 273000)
 3     apolk@girardsharp.com
       Nina Gliozzo (State Bar No. 333569)
 4     ngliozzo@girardsharp.com
       Samhita Collur (State Bar No. 348448)
 5
       scollur@girardsharp.com
 6     GIRARD SHARP LLP
       601 California Street, Suite 1400
 7     San Francisco, CA 94108
       Telephone: (415) 981-4800
 8
       Facsimile: (415) 981-4846
 9
       Attorneys for Plaintiffs
10
11
12                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
                            FOR THE COUNTY OF ORANGE,          JUSTICE CENTER
13                                                                                  NORTH rg
14                                                                                                                 iw:riec r AI:d
                                                                                                                •ludge ScottA Steiner
15                                                                                 CaseNo.         j0-2o24-n 1~11 ~64ls-cU-PO-NJC

16                                                                                 COMPLAINT
17
                                                                                   1. Bailment
18                                                                                 2. Negligence And/Or Gross Negligence
                                                                                   3. Conversion
19                                                                                 4. Trespass to Chattels
20                                                                                 5. Violation of the California Consumer Legal
                                                                                      Remedies Act, Cal. Civ. Code § 1750 Et.
21                                                                                    Seq.
                                                                                   6. Violation of the Unfair Competition Law,
22                                                                                    Ca1. Bus. & Prof. Code § 17200
23
                                                                                   DEMAND FOR JURY TRIAL
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 1             Plaintiffs S.W. and V.W. by and through their undersigned counsel, bring this action against
 2      Cryoport, Inc. ("Cryoport" or "Defendant") and allege as follows:
 ,,j
                                               NATURE OF THE ACTION
 4             1.       Ciyoport offers comprehensive logistics services to facilitate the transportation of fragile,
 5      and oftentimes irreplaceable, huinan reproductive matter and other life sciences materials.
 6             2.      Plaintiffs S.W. and V.W. are a married couple who want children and underwent IVF
 7      treatments in 2019 to preserve their options and give themselves the best possible chance to grow their
 8      family. As a result of their IVF treatments, they were able to create and cryopreserve six healthy embryos.
 9             3.       Four years later, in 2023, Plaintiffs were ready to have a child and contracted with Cryoport
10      to transport the six frozen embryos from a fertility clinic in San Francisco, California to the Fertility Center
11      of Orange County ("FCOC") based in Irvine, California. They scheduled an appointment to attempt a
12      pregnancy using the embryos as soon as they were delivered to FCOC.
13             4.       Plaintiffs purchased transportation services from Cryoport. On that purchase, Cryoport
14      became obligated to deliver Plaintiffs' embryos, intact, to FCOC for Plaintiffs' use in a scheduled embryo
15      implantation procedure.
16             5.       Recognizing that embryos entrusted to their care are fragile and irreplaceable, Cryoport
17      promises to its clients, including Plaintiffs, that it uses state-of-the-art technology to ensure that "patients'
18      materials arrive safely and securely." ~
19             6.       Plaintiffs' embryos were packaged and shipped on November 8, 2023. The shipping
20      containers were clearly marked as containing live specimens.
21             7.      The next day, on November 9, 2023, Plaintiffs received a tracking update by FedEx which
22      purported to show that the embryos had been delivered to FCOC. Despite the delivery status presented in
23      the notification, Cryoport never delivered the embryos to FCOC.
24             8.      Plaintiffs were later informed by Cryoport that the shipping containers with their embryos
25      had been erroneously returned to the Cryoport logistics center located just a few miles from FCOC. In
26      violation of Cryoport's general policy, a Cryoport employee subsequently opened the shipping container
27

28
        ' https://www.cryoport.com/appli.cations/reproductive-medicine/.


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      with Plaintiffs' embryos and removed all of its contents—including the storage units containing thei
 2    frozen embryos.
 3           9.      Ciyopreserved materials, like embryos, must be maintained under cold temperatures whil~
 4    being transported to remain viable.
 5           10.     When the Cryoport employee removed the embryos fi•om the storage container that kep
 6    them safely frozen, the embryos were exposed to an uncontrolled thaw that destroyed them.

 7           11.     In conversations and communications with Plaintiffs following the incident, Cryoport ha
 8    admitted that the actions of its employee, in violation of company policy, caused the damage anc

 9    destruction to Plaintiffs' embryos.

10           12.     Upon leaming the news that their embryos had been damaged and destroyed, Plaintiffs
      joy and anticipation for expanding their family quickly turned to devastation.
12           13.     Because of Cryoport's failure to protect and safeguard Plaintiffs' embiyos, Plaintiffs los
13    irreplaceable property, and were emotionally, physically, and psychologically harmed as a resull
14    Plaintiffs bring this action to hold Defendant accountable for its conduct.
15                                          JURISDICTION AND VENUE
16           14.     This Court has subject matter jurisdiction over all causes of action alleged in this Complain
17    pursuant to the California Constitution, article VI, section 10, and is a Court of competent jurisdiction t~

18    grant the relief requested.
19            15.    This Court has personal jurisdiction over Defendant because Cryoport purposefully availe~
20    itself of the laws and benefits of doing business in California, and Plaintiffs' claiins arise out o

21    Defendant's forum-related activities. Furthermore, the events giving rise to Plaintiffs' claims occurred i]

22    this county.

23           16.     Venue is proper in this Court pursuant to California Code of Civil Procedure sections 395

24    and 395.5, and California Business and Professions Code section 17203 because Plaintiffs' injuiy occurred

25    in Orange County.

26                                                 THE PARTIES

27           17.     Plaintiff S.W. is a citizen and resident of Orange County, California.
28           18.     Plaintiff V.W. is a citizen and resident of Orange County, California.


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 1                19.     Given the sensitive nature of their claims, Plaintiffs are using initials in this litigation
 2     protect their privacy. Plaintiffs will move for an order to continue to use initials in this litigation to proti
 3     their privacy if needed.
 4                20.     Defendant Cryoport, Inc. is a Nevada company with its principal place of business at 112
 5     Westwood Place, Suite 350 Brentwood, Tennessee 37027.
 6                                               FACTUAL ALLEGATIONS
 7    I I.        Cryoport Specializes in the Transportation of Fragile Human Reproductive Materials
 8                21.     Ciyoport Systems, a division of Cryoport, Inc. specializes in transportation solutions f
 9     precious, fragile, and irreplaceable life sciences materials, including huinan reproductive matter. Entiti
10     who seek to transport life sciences materials rely on Cryoport's services for safe and secure transportati~
11     of their goods.
12                22.     Cryoport represents itself as a "global leader in supply chain solutions" for the life science
13     industry and purports to have built "the only premier temperature-controlled shipping systems in th
14     industry that adhere to ISO 21973 standards."Z
15                23.     Reproductive materials, antibiotics, cell cultures, and other life sciences materials o
16     require temperature-controlled environments when they are transported from one location to another. T
17     meet this need, Ciyoport has designed transportation infrastructure that includes "advanced tempera
18     controlled packaging, informatics, specialized bio-logistics services, bio-storage, bio-services,
19     cryogenic systems."3
20                24.     Cryostork, a branch of Cryoport Systems, specializes in the provision of transportati
21     solutions for fertility clinics and other entities operating in the human reproductive inarket seeking
22     transport human reproductive materials, including eggs, sperrn, and embryos. Cryoport has substant:
23     experience transporting these materials, and the company's website notes that "90% of U.S. fertility clini
24     have worked with Cryoport Systems."4
25
26     2     https:i"/www.cryoi.3ort.com/; httlZs://www.crv,o~ort.corn/solutrons/shippi~lg-systems/.
27     3  Cryoport 10-K (March 13, 2024) at 4, available at https://ir LLcryoportiiic.com/sec-filings/all-sec-
28     filings/ content/00015583 70-24-003 1 28/cyrx-2023 1 23 I x i Ok.htni.
       4     htt~s:/lwww.cr~port.com~applications/zeproductive medicine/clinics/.

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 1             25.    Human reproductive materials are transported using cryogenic storage systems, which
2     specialty units designed to inaintain extremely low temperatures in order to preserve the materials. Hut
 3    reproductive materials must be maintained at cryogenic (sufficiently low) temperatures to keep
4     materials fi•ozen. To achieve this, Cryoport transfers reproductive material like human embryos in d
 5    containing liquid nitrogen. The embryos must remain submerged in the liquid nitrogen
 6    transportation to remain safely frozen.

 7             26.    Cryoport recognizes that maintaining cryogenic temperatures during the transport o

 8    reproductive tissues is "critical for cell integrity to retain viability, stabilize the cells, and ensur~

 9     reproducible results and successful IVF treatment,"5 and represents that its shipping containers can sustaii

10    cryogenic temperatures for up to ten days.6 Cryoport further represents that "all of our staff involved i~
11    the packaging and shipping process is highly trained to handle reproductive materials specifically."7
12             27.    Frozen human reproductive materials must be thawed in a controlled environment

13     remain viable for use in the future. This controlled process generally involves immersing the tissues in
14     warm fluid that removes the cryoprotectant substance used to keep the materials frozen. The materials a
15     then immediately placed in an incubator, which allows the materials to properly settle.

16             28.    Human reproductive materials that are inadvertently exposed to outside eleinents beyo

17     the controlled environment face the risk of damage and destruction. Ciyoport recognizes the hea

18     responsibility it bears in ensuring the safe transport of human reproductive materials. The company'

19     website underscores the "the criticality and responsibility involved in the management of valuabl

20     materials for the life sciences" and recognizes that the reproductive materials being transported in its unil

21     are "irreplaceable."g

22     II.     In Vitro Fertilization Procedure

23             29.    IVF has become an established means of allowing individuals and couples the

24     to become pregnant using their biological material. IVF provides the flexibility to begin a family when i

25

26     ' Supra note 3, at 9.
27     6 https:~/'www.cryoport comiu~hat-you-need-to-know-about-shiUping=~our-reproductive-rnaterialsi.

28
       ' Id.
       8 lzttps://www.cryoport.com/about-us/.

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 1    makes sense for individuals and couples personally and professionally. IVF is also a way for tho
 2    suffering from infertility to start their families, using their own biological material.
 3           30.     An IVF cycle typically includes the following steps or procedures: (1) the patient tak
 4    medications, including regular injections of hormones, to grow multiple eggs; (2) the clinic retrieves t:
 5    patient's eggs from the ovary or ovaries; (3) the eggs are inseminated with sperm; (4) the clinic cultur
 6    any resulting fertilized eggs, fostering their development into embryos, including with the use of cultu
 7    media; (5) one or more embryo(s) are placed ("transferred") into the patient's uterus; and (6) the patie
 8    takes additional hormones to support of the uterine lining to permit and sustain pregnancy.
 9           31.     In certain cases, additional procedures may be employed, including (1) intracytoplasm
10    sperm injection ("ICSI") to increase the chance for fertilization; (2) assisted hatching of embryos
11    potentially increase the chance of embryo attachment ("implantation"); and (3) cryopreservatic
12    (freezing) of eggs or embiyos.
13           32.     The success of IVF largely depends on growing multiple eggs at once and then retrievir
14    the eggs (egg retrieval process). To achieve this goal, patients undergo a strict regimen of injections wi
15    hormones and other medicines. These injections can cause a plethora of known side effects, including b
16    not limited to bruising, redness, swelling, or discomfort at the injection site, bloating, weight gain, wat'
17    retention, bone loss, fatigue, headaches, muscle aches, abdominal pain, breast tenderness, vaginal yea
18    infections, vaginal dryness, bone loss, hot flashes, mood swings, depression, nausea, vomiting, diarrhe
19    clots in blood vessels and strokes. Women injected with these pharmaceuticals also run the risk of
20    potentially fatal allergic reaction to the drugs. And up to 2% of women will develop Ovari~
21    Hyperstimulation Syndrome ("OHSS"), a life-threatening condition that can cause increased ovarian siz
22    nausea and vomiting, accumulation of fluid in the abdomen, breathing difficulties, increased concentratic
23    of red blood cells, kidney and liver problems, blood clots, kidney failure, and death.
24           33.     IVF requires multiple doctor visits involving routine blood tests and invasive transvagin
25    ultrasound examinations, which are often scheduled with veiy little advanced warning. IVF also place
26    restrictions on diet, work, and travel.
27           34.     The egg retrieval process itself involves surgery conducted under anesthesia, where thf
28    eggs are extracted with a large needle inserted through the vaginal wall. Risks of the egg retrieva


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1     procedure include infection, bleeding, trauma to intra-abdominal organs, allergic reactions, low blo
2     pressure, nausea, vomiting, and in rare cases, death. After the retrieval procedure, a patient
3     experiences residtial pain foi• about a week and may need bedrest for several days.
4             35.      Another potential risk is that the procedure will fail to obtain any eggs, or the eggs may be
 5    abnormal or of poor quality and otherwise fail to produce a viable pregnancy.
 6            36.      Based on their age and medical status, women may undergo multiple rounds of retrievals

 7    to obtain enough eggs or embryos to achieve their reproductive goals. This process can take months or
 8    even years. On average, women and couples spend $40,000-$60,000 out of pocicet for these services.

 9            37.      If and when viable eggs are retrieved, IVF and embryo culture occurs. Sperm and eggs are

10     placed together in specialized conditions (culture media, controlled temperature, humidity, and light) to

11    achieve fertilization. Sperm and eggs are submerged in culture media, which is a nutrient-rich liquid
12     designed to promote the growth and development of a fertilized egg into a viable embryo by replicating
13     the natural environment and fluids in a woman's reproductive system. When they develop successfully,

14     embiyos grow and reach certain milestones for viability over the course of several days following
15     insemination.

16            38.      After the egg retrieval process, IVF patients can either receive a fresh embryo transfer or

17     frozen embryo transfer. A fresh transfer occurs after a few days of einbryo developinent. Einbryos a

18     selected for transfer and are placed in the uterine cavity with a tube. By contrast, a frozen transfer involv~

19     cryogenically fi•eezing the embryo, then after a period of time, thawing the embryo under tightly control

20     conditions to maintain its viability, and placing it in the patient's uterus. Frozen transfers allow a pati
21     to elect to genetically screen the embiyos to determine if any suffer from genetic abnormalities mak
22     them unsuitable for• transfer.

23             39.     If multiple viable embryos are created in an IVF cycle, patients can opt to do a fresh tr,

24     of one or mor•e embryos and freeze others for later transfer attempts. Excess embryos of sufficient q

25     that are not transferred can be frozen. So long as they are properly stored, frozen embryos can r~
26     viable and be transferred years after they are retrieved.
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 1     III.   The Loss of Eggs and Embryos Has Severe Consequences
 2            40.     People who engage in fertility services make large monetary and emotional investinents
 3    They endure painfiil and invasive procedures, financial stress, and the strain the process puts on thei:
 4     mental health and relationships with others, all in the hopes that one day they will be able to have a child
 5            41.     In addition to the physical burdens of IVF, the process is also emotionally grueling. Thf
 6    success or failure of IVF, including egg retrieval and embryo storage, has substantial emotional anc
 7    psychological ramifications for those seeking to become parents.
 8            42.     For many, the IVF process represents their last hope for having children. Many womei
 9    experience and express strong feelings of anxiety, failure, hopelessness, and disappointment during thi
10    process. The IVF process can affect a patient and her spouse or partner medically, financially, socially
11    emotionally, and psychologically. Feelings of anxiety, depression, isolation, and helplessness are no
12     uncommon in patients undergoing IVF. Losing eggs and embryos provokes fear, devastation, and despair
13    Many people experience grief and anguish when fertility treatment does not result in pregnancy or wher
14    they lose fertility choices.
15            43.     As discussed above, women take drug and hormone cocktails and injections over severa
16    weeks to stabilize the uterine lining, stimulate ovaries into producing follicles, and stop these ovai-~

17    follicles from releasing eggs. A woman may be subjected to multiple injections each day, resulting ir
18     bruising, swelling, and discomfort. The drug and hormone therapy may also trigger other side effects
19    such as tiredness, nausea, headaches, and blood clots, as well as negative emotions. The process can limi
20    travel and other activities, entails numerous doctor visits, and often requires time off from work. Thf
21    retrieval procedure itself requires anesthesia, as well as insertion of a thick needle through the vaginal w

22    to drain the ovaiy follicles of their fluid. After the procedure, a woman often experiences residual pain

23    about a week and may need bed rest for several days. Some women suffer significant side effects, such

24    ovarian hyperstimulation syndrome, requiring hospitalization.

25            44.     These invasive services are expensive. According to recent estimates, "a single T

26    cycle—defined as ovarian stimulation, egg retrieval and embryo transfer—can range from $15,000

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 1     $30,000, depending on the center and the patient's individual medication needs."9 Clients typically
 2     thousands of dollars for fertility drugs leading up to egg retrieval and may also spend hundreds of dol
 3     on acupuncture and other services recommended to them to improve outcomes. Depending on age
 4     health status, some women will undergo (and pay for) more than one IVF cycle, or if they freeze multip]
 5     embryos, will pay thousands of dollars for each transfer attempted with an existing einbryo.
 6            45.     As a provider who specializes in transporting cryogenically frozen reproductive inateria
 7     Cryoport is aware of the lengths to which people go to obtain eggs and create embryos, how much the
 8     mean to patients, the patients' emotional (and financial) investment in the survival of the eggs an
 9     embryos, and the patients' expectations that great care will be taken to preserve and protect the eggs an
10     embryos to avoid irreparable, devastating harm.
11            46.     Eggs and embryos are precious. They offer the opportunity to fulfill one of the mo
12     fundamental human urges: to become a parent and create one's own family when the time is right. Egg
13     and einbryos are also irreplaceable. The most determinative factor in IVF success is the woman's age a
14     the time her eggs were extracted. At some point, usually around her mid-40s, a woman can no longe
15    produce viable eggs, and eggs from older women are less likely to produce a viable pregnancy and health:
16    child. When preserved eggs or embryos are damaged or compromised, it may be impossible for clients t~
17     build their family as they had planned.
18    IV.     Plaintiffs' Embryos Were Destroyed Because of Defendant's Conduct
19            47.     In September 2019, V.W. (then age 35) and S.W. (then age 33) began the process o
20    creating embryos to maximize their fertility options. Plaintiffs created and cryopreserved six health:
21    embryos at the University of California San Francisco Center for Reproductive Health ("UCSF") whil
22    living in the San Francisco Bay Area.
23            48.     Each of the six embryos was euploid, healthy, and viable. They were graded 5AA, 5A
24     5AA, 5BA, 4AA, and 5BC. All were genetically tested and had no abnormalities.
25            49.     Plaintiffs subsequently moved to Southem California, and continued their fertility care
26    a new clinic, FCOC, based in Irvine, California,
27
28
      9 lrttps:I/www.forbes.corn/health/womens-health/how-much-does-ivf-cost/.


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 1            50.     In 2023, Plaintiffs prepared to use their embryos and expand their family. They schedul
 2     an implantation at FCOC on December 21, 2023. To prepare for the implantation, they underwent t
 3     required testing and examinations and contacted Cryoport to arrange for the transportation of their si
 4     frozen einbryos from UCSF to FCOC.
 5            51.     Ciyoport provided a quote to Plaintiffs on October 3, 2023 and represented that it cou
 6     provide "exclusive fertility shipping services, along with reassurance and support." The servic
 7     advertised as included in the standard transport services package included "The Client Care Team utiliz
 8     our Logistics Management Platform to continuously collect and monitor data throughout the

 9     transport" and "Smartpak® Condition Monitoring Systein: Tracks GPS location and temperattire."
10            52.     On October 23, 2023, Plaintiffs purchased Cryoport's quoted transportation services

11     transport their six frozen embryos from San Francisco to Irvine.
12            53.     On November 8, 2023, Plaintiffs' six healthy frozen embryos were packaged in Cryoport'

13     transportation dewar at UCSF. The packages were clearly labeled as containing live specimens.

14           .54.     Ciyoport provided the transportation dewar and was responsible for coordinating th
15     transportation but contracted with FedEx to physically take the dewar from UCSF to FCOC.
16            55.     Over the course of the next few days, Plaintiffs received tracking updates from FedEx
17     confirming that the embryos were en route to the delivery address, which was correctly listed for FCOC.
18            56.     On Thursday, November 9, 2023, Plaintiffs received a tracking update that purported to
19     show that the embiyos had been delivered to FCOC, but the space to indicate who had signed for the
20     shipment was blank.

21            57.     That same day, FCOC contacted Ciyoport to report that, despite the delivery confirma

22     email, it had not received Plaintiffs' einbiyos.

23            58.     It was not until the next day, November 10, 2023, that Cryoport revealed to Plaintiffs

24     FCOC the detail of what had happened.

25            59.     According to Cryoport, the shipping container had instead been ei-roneously delivered to

26     Cryoport's logistics center locatedjust a couple miles away from FCOC. Cryoport also informed Plaintiffs
27     that after the shipping container reached Cryoport's facility, a Cryoport employee opened the container
28     with Plaintiffs' embryos and removed all of its contents—including the storage units containing their


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 1    frozen embryos. The embryos were eventually placed back into a shipping container and delivered
 2    FCOC in a damaged or destroyed state.
 3            60.     Cryoport further confirmed that the shipping container with Plaintiffs' embryos was clear
 4    marked as containing live specimens, and that Cryoport's policy is to never open containers that contaii
 5    live specimens, but instead for staff to immediately elevate the presence of such a shipping container a
 6    the logistics center.
 7            61.     Cryoport provided temperature stability reports to Plaintiffs—designed to ensure the safe
 8    transportation of frozen material—which are consistent with the timeline alleged above. The first report
 9     contains temperature readings for the storage container from November 6 to November 9, 2023. The log
10    ends at approximately 19:00 UTC, or 1:00pm local time, which is around the reported time that Ciyoport
11    removed the contents of the dewar. Although Cryoport has not confirmed precisely when Plaintiffs'
12     embryos were placed back into a dewar after they were discovered, the next temperature stability repo
13     does not report any temperature readings until just before November 11 at 00:00 UCT, or November 1
14     at 4:00pm local time.
15            62.     Cryoport has acknowledged that Plaintiffs' embryos were damaged and destroyed as
16     result of its employee. Cryoport admitted these facts on phone calls with Plaintiffs and in other materiaL
17     provided to Plaintiffs and also expressed condolences to Plaintiffs for the loss of their embryos. All o
18     Plaintiffs' embryos were destroyed due to Cryoport's failure to safely and securely transport and delive
19     Plaintiffs' embryos to FCOC.
20            63.     At Plaintiffs' request, FCOC thawed and examined the embryos to see if any could still
21     used to attempt a pregnancy. This testing confirmed that the embryos were destroyed and no longer viable
22     FCOC's report describes that each of the embryos were "filled with bubbles" and degenerated. Nonf
23     survived.
24            64.     As Plaintiffs grieved their loss following Cryoport's destruction of their six embryos, tl
25     still longed to grow their family, though V.W. is now 40 years old. They were able to achieve a pregnai
26     in January 2024 but learned in February and confirmed in March that the baby had Trisomy 18, a r
27     genetic condition associated with major congenital abnormalities and more common for mothers
28     advanced maternal age. They saw an obstetrician specializing in high-risk pregnancies who


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 1    that the baby's defects were fatal and the pregnancy nonviable. Plaintiffs were and remain completely
 2    devastated. They had planned ahead and frozen embryos to avoid genetic issues, but because of Cryoport,
 3    their embiyos were not available when they needed them.
 4    V.       Cryoport Makes Several Public Representations About the Quality of its Services
 5             65.    Before and at the time Plaintiffs purchased transportation services from Cryoport, Ciyoport
 6    held itself out as a gold standard transportation company with state-of-the-art technology and emphasized
 7    that human reproductive materials would be safely transported to its customer's desired destination.
 8             66.    The below representations can all be found on Cryoport's website and existed there prior
 9    to Plaintiffs' purchase of Cryoport's transportation services:
10                    a.     "We incorporate state-of-the-art informatics and data monitoring technology into
11                            our systems to provide near-real time traceability. Clients trust us because our
12                            processes are proven to maintain both Good Manufacturing Practice (GMP) and
13                            Good Distribution Practice (GDP) standards no matter the material type."10
14                    b.     "At Cryoport Systems, we are dedicated to setting the industry standard for
15                            quality and safety in the temperature-controlled supply chain. Our comprehensive
16                            approach to risk mitigation ensures the highest level of reliability across our entire
17                           platform of supply chain solutions."~ ~
18                    c.     "From our precision-engineered shipping systems that offer meticulous attention to
19                            detail for the safe transport of sensitive materials to our transportation and logistics
20                           solutions that are designed to proactively mitigate risk, we are dedicated to ensuring
21                           the integrity of your temperature-controlled supply chain at every stage."12
22                    d.     "Our exclusive courier services are the most reliable on the market, and our cutting-
23                           edge teclmology, equipment, and standardized procedures ensure that patient
24                            materials arrive safely and securely."13
25

26    10   https://www.cryoport.com/solutions/shipping-systems!.
27     ' ' https://www.czyoporl.com/about-us/guality!.
      12 Id.
28
      13 ht~s://www cryooport.com/ap,plications/reproductive-medicine/.

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 1                      e.     "At Cryoport Systems, we understand the criticality and responsibility involved i
 2                             the management of valuable materials for the life sciences. In many cases, we'i
 3                             dealing with irreplaceable therapies, vaccines, research materials, and reproducti~
 4                             materials for our clients and partners.14
 5                      f.     "Cryoport Systems sets the standard for quality and safety in the temp
 6                             controlled supply chain."1s
 7                      g.     "All of our staff involved in the packaging and shipping process is highly
 8                             to handle reproductive materials specifically."16
 9             67.      In addition to the website representations, Cryoport made similar representations on
10     quote for services provided to Plaintiffs, titled "Cryoport Systems Shipping Quote," including
11                      a.     "Cryoport Systems is pleased to offer you our exclusive fertility shipping services,
12                             along with reassurance and support as you take the next step towards building youi
13                             family."
14                      b.     "The Client Care Team utilizes our Logistics Management Platform
15                             continuously collect and monitor data throughout the entire transport."
16             68.      Plaintiffs reviewed Cryoport's website and order form prior to deciding to hire them tc
17     provide transportation services, and relied on Cryoport's statements regarding the quality of their services.
18                                                       COUNT I
19                                                        Bailment
20             69.      Plaintiffs repeat the factual allegations contained in the foregoing paragraphs as if fully
21    I forth herein.
22             70.      Plaintiffs incorporate the above and below allegations by reference.
23             71.      Plaintiffs delivered to Cryoport for safekeeping irreplaceable personal property to be safel:
24     and securely kept for the benefit of Plaintiffs, and to be redelivered to them upon demand.
25             72.      Ciyoport received Plaintiffs' embryos on this condition.
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       14 lit tps:i/www.coport .com/about-us/.
27

28
       '' https:/r'www.crvoport.com/about-us/qualitX/.
       '6 https://www.cryoport.com/what-you-need-to-know-about-shipping=vour-reproductive-materialsi.

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 1            73.      Plaintiffs agreed to pay, and did pay, substantial sums in exchange for Cryoport's promis
 2    to safeguard reproductive material for the benefit of Plaintiffs.
 3            74.      Plaintiffs gave Cryoport exclusive possession and control of Plaintiffs' invaluable personi
 4    property (i.e., the embryos). Cryoport knowingly accepted Plaintiffs' invaluable personal property (i.e.,
 5    the embiyos).
 6            75.      Ciyoport had a duty to exercise care in maintaining, preserving, and protecting Plaintiffs'
 7    embryos that were delivered to Cryoport. Further, Cryoport had a duty to return the embryos, undamaged,
 8    to Plaintiffs, to whom the embryos belonged, including by delivering them to Plaintiffs' designated
 9    recipient fertility clinic.
10            76.      Ciyoport invited the general public, including Plaintiffs, to entrust eggs and embryos

11    Cryoport's care by holding out Cryoport as a competent, capable, and established reproductive and stori

12    facility able to handle and care for eggs and embryos in a safe and satisfactory manner, and in a mani
13    specified on their websites.
14            77.      Because of Cryoport's wrongful conduct, as set forth herein, the irreplaceable property o
15     Plaintiffs was destroyed, precluding its redelivery to them.

16            78.      Cryoport breached their duty to exercise care in the safekeeping of Plaintiffs' embryo
17    delivered to Cryoport and to return the embiyos, undamaged, to Plaintiffs.
18            79.      As a direct and proximate result of Cryoport's breach of bailment contract, Plaintiffs have
19    been deprived of the opportunity to use the embryos they entrusted to Cryoport and have suffered damages
20     in an amount to be determined at trial.

21                                                     COUNT II

22                                        Negligence and/or Gross Negligence

23            80.      Plaintiffs incorporate the above and below allegations by reference.

24            81.      Cryoport owed Plaintiffs a duty to exercise the highest degree of care when transporting,

25    handling, and monitoring the temperature-controlled storage units used to transport Plaintiffs' einbryos.

26            82.      Cryoport owed a duty of care to Plaintiffs to act reasonably in all aspects of the handling
27    and transport of Plaintiffs' embryo so as to avoid destroying them, damaging them, or jeopardizing their
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 1    viability given that doing so would inevitably lead to the loss of invaluable property, physical,
2     emotional distress.
3             83.     Cryoport assuined that duty of care through communications with Plaintiffs and by reaso
 4    of Cryoport's special relationship with Plaintiffs arising from the sensitive services Cryoport undertoo
 5    to perform—transporting fragile and irreplaceable reproductive materials.
 6            84.     Plaintiffs' harm occurred in the course of specified categories of activities, undertakings
 7    or relationships in wliich negligent conduct is especially likely to cause serious harm. As Cryoport state:
 8     in its marketing, the company is "dedicated to setting the industry standard for quality and safety in thf
 9    temperature-controlled supply chain" and offers "the most reliable [courier service] on the market'
10     designed to "ensure that patient materials arrive safely and securely."

11            85.     It was reasonably foreseeable to Cryoport that Plaintiffs would experience economic los

12     and severe einotional distress as a result of Cryoport's breach of its duty of care.

13            86.     Cryoport's carelessness and gross negligence directly and foreseeably damaged Plaintiffs.
14     Plaintiffs entrusted Cryoport with transporting, handling, and monitoring their invaluable embryos, and
15     Cryoport's mishandling of their embryos naturally and foreseeably caused economic loss, mental anguish,
16     and emotional distress, among other injuries, to Plaintiffs.
17            87.     There was a close connection between Cryoport's conduct and Plaintiffs' injuries.

18     Plaintiffs' economic loss, ernotional distress, and other harms occurred because of Cryoport's failure to

19     act reasonably in all aspects of the transportation, handling, and monitoring of Plaintiffs' embryos.
20            88.     Plaintiffs entrusted Cryoport to use reasonable care to safeguard their embryos to preserve

21     their reproductive options. Cryoport's carelessness with this precious material, and ultimately, with

22     Plaintiffs' careful plans for parenthood, is reprehensible.

23            89.     Cryoport is a common carrier. A common carrier generally has a duty to act as an

24     for the goods it transports.

25            90.     Imposing a duty on Cryoport to avoid causing emotional distress and loss of invaluable

26     property would promote the policy of preventing future harm, insofar as it will be motivated to implement
27     more effective processes and systems to ensure that eggs and embiyos are transported safely going
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      forward. Iinposing a duty on Cryoport to avoid causing emotional distress also furthers the community',
 2     interest in ensuring that reliable fertility services are available to those who wish to become parents.
 3            91.     The burden on Cryoport from a duty to avoid causing economic loss and emotional distres,
 4     is fair and appropriate in light of the importance of the eggs and embryos it voluntarily agreed to protect
 5    at considerable cost to Plaintiffs.
 6            92.     Cryoport owed Plaintiffs a non-delegable duty of care with respect to the maintenance anc
 7     protection of the embryos entrusted to their care.
 8                    a.      Cryoport breached these duties and acted with negligence and gross negligence ii
 9                            at least the following respects:
10                    b.      failing to properly safeguard the embryos in its care;
11                    c.      failing to follow Cryoport's own policies and procedures for handlin~
12                            transportation containers with live specimens;
13                    d.      failing to adequately monitor the location of the storage unit containing Plaintiffs
14                            embryos;
15                    e.      failing to properly train and supervise staff responsible for the cleaning an~
16                            maintenance of storage units.
17                    f.      failing to disclose that it did not have appropriate processes and systeins in place t~
18                            protect Plaintiffs' embryos.
19            93.     Cryoport's acts and omissions constitute gross negligence because they constitute a;
20     extreme departure from what a reasonably careful person would do in the same situation to preveii
21     foreseeable loss of embryos.
22            94.     Cryoport acted willfully, wantonly, and with conscious and reckless disregard for the right
23     and interests of Plaintiffs. Cryoport's acts and omissions had a great probability of causing significan
24     harm and in fact did cause such harm—the loss of Plaintiffs' invaluable property.
25            95.     As a proximate result of Cryoport's negligence and/or gross negligence, Plaintiffs suffere~
26     economic loss in an amount to be determined at trial, including the loss of irreplaceable and invaluabl
27     property. A reasonable person would be unable to cope with the losses suffered by Plaintiffs.
28


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 1            96.     As a proximate result of Cryoport's negligence, Plaintiffs suffered harm in an amount to
2      be determined at trial, including economic loss and severe emotional distress consisting of shock, fright,
3      horror, anguish, suffering, grief, anxiety, nervousness, embarrassment, humiliation, and shame.
 4            97.     The foregoing acts were committed maliciously, oppressively, deliberately, with intent to
 5     defraud, and in reckless disregard of Plaintiffs' rights, interests, and well-being to enrich Defendant.
6      Defendant's conduct warrants an assessment of punitive damages in an amount sufficient to deter such
 7     conduct in the future, wliich amount is to be determined according to proof.
                                                      !'l1TT1.TT TTT
 8

 9                                                    Conversion

10            98.     Plaintiffs incorporate the above and below allegations by reference.

11            99.     Plaintiffs owned and had the right to possess their embryos, which are unique items o

12     personal property.

13            100.    Cryoport substantially interfered with Plaintiffs' embryos by intentionally failing to

14     properly maintain the frozen embryos in a safe environment, removing them from the transportation
15     dewar, and exposing them to an uncontrolled thaw, which was a substantial factor in the destruction of

16     Plaintiffs' embryos. Cryoport knew, or should have known, that removing the embryos from the
17     uansportation dewar would destroy the embryos.
18            101.    Plaintiffs did not consent to their embryos being destroyed. Plaintiffs were harmed when

19     their etnbryos were destroyed; they lost invaluable propei•ty that could have enabled them to have a child

20     and were emotionally and physically hartned.

21                                                    COUNT IV

22                                               Trespass to Chattels

23            102.    Plaintiffs incorporate the above and below allegations by reference.

24            103.    Plaintiffs owned or had the right to possess their reproductive material—their six frozen
75     enibryos—that was destroyed by Cryoport's mishandling of Plaintiffs' embryos.

26            104.    Cryoport intentionally interfered with Plaintiffs' possession of their embryos by removing
27     them from the transportation dewar, and by failing to safely and securely transport and deliver Plaintiffs'
28     six frozen embryos to FCOC so Plaintiffs could use the embryos to grow their family.


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               105.    Plaintiffs did not consent to or authorize the damage and destruction to their embryos as ~
 2      result of Cryoport's failure to safely and securely transport and deliver Plaintiffs' embryos.
 3             106.    Defendant caused physical damage to Plaintiffs' personal property when it failed to safely
 4     and securely transport Plaintiffs' embryos.
 ~                                                      COUNT V
 C~                            Violation of Consumers Legal Remedies Act ("CLRA")
 7                                           Cal. Civ. Code. §§ 1750, et seq.
 8             107.    Plaintiffs incorporate the above and below allegations by reference.
 9             108.    Cryoport is a "person" under Cal. Civ. Code § 1761(c).
10             109.    Plaintiffs are "consumers" under Cal. Civ. Code § 1761(d).
11             110.    Plaintiffs' purchase of Defendant's services constitute "transactions" under Cal. Civ. Codf
12      § 1761(e).

13             111.    Defendant's services are "services" under Cal. Civ. Code § 1761 (a-b).
14             112.    The CLRA proscribes "unfair methods of competition and unfair or deceptive acts o
15      practices undertaken by any person in a transaction intended to result or which results in the sale or leasf
16     of goods or services to any consumer." Cal. Civ. Code § 1770(a).
17             113.    As alleged herein, Defendant engaged in unfair or deceptive acts or practices in violatioi
18     of the CLRA, Cal. Civ. Code § 1750, et seq. by, among other things, representing that Defendant's service;
19      have characteristics, uses, benefits, and qualities which they do not have; representing that their service~
20     are of a particular standard, quality, and grade when they are not; and advei-tising their services with th~
21      intent not to sell them as advertised. Cal Civ. Code § 1770 (5), (7), and (9).
22             114.    Defendant actively failed to disclose and concealed material facts about its seivices, an(
23      otherwise engaged in activities with a tendency or capacity to deceive a substantial portion of th~
24      purchasing public, as described herein.
25             115.    Defendant could have readily disclosed the entire truth regarding the risks connected to it
26     services to Plaintiffs through various sources, including its website and marketing materials.
27
28


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 1            116.    Defendant's CLRA violations materially affected the decisions of Plaintiffs. Plainti
 2    reasonably relied upon Defendant's material omissions and partial claims regarding the quality of th
 3    services and would not have purchased those services had they known the truth.
 4            117.    As a result of the CLRA violations described herein, Plaintiffs have suffered
 5    damages.
 6            118.    Pursuant to Cal. Civ. Code § 1780, Plaintiffs seek actual damages, injunctive relief
 7     restitution, punitive dainages, recovery of attorneys' fees and costs, and any other relief that the courl
 8    deems proper for Defendant's violations of the CLRA.

 9            119.    Venue is proper under California Civil Code § 1780(d) because Cryoport does business ir.
10    Orange County where a substantial portion of the acts and omissions at issue occurred. Plaintiffs'

11    venue declaration is attached as Exhibit 1 to this complaint.

12            120.    On July 8, 2024, Plaintiffs' counsel sent Defendant a CLRA notice letter, which complie:

13     in all respects with California Civil Code § 1782(a). The letter was sent via certified mail, return receip
14     requested, advising Defendant that it was in violation of the CLRA and demanding that it cease and desis
15     from such violations and make ftill restitution by refunding the monies received therefrom. A true anc

16     correct copy of the letter is attached hereto as Exhibit 2.
17                                                     COUNT VI
18                           Violation of California Unfair Competition Law ("UCL")
19                                      Cal. Bus. & Prof. Code § 17200 et seq.
20            121.    Plaintiffs incorporate the above and below allegations by reference.
21            122.    The UCL prohibits acts of "unfair competition," including any "any unlawful, unfair or
22     fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising...." Ca1. Bus.
23    & Prof. Code § 17200. 125.
24            123.    Cryoport violated each of the UCL's provisions: it acted in an unlawful, unfair,
25     fraudulent manner, including disseminating unfair, deceptive, untrue or misleading advertising...."
26            124.    Defendant Cryoport is a "person" under Cal. Bus. & Prof. Code § 17201.
27            125.    Cryoport acted unlawfully. Section 17200's "unlawful" prong "boi-rows violations of o
28     laws ... and makes those unlawful practices actionable under the UCL" Klein v. Chevron US.A., Inc.,


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 1     Cal. App. 4th 1342, 1383 (2012), as modified on denial of reh'g (Feb. 24, 2012. `[V]irtually any law or
2      regulation—federal or state, statutory or common law—can serve as [a] predicate for a ... [section] 17200
3      `unlawful' violation." Paulus v. Bob Lynch Ford, Inc., 139 Cal. App. 4th 659, 681 (2006) (internal
 4     citations omitted). Ciyoport violated the law through its gross negligence, bailment violations, trespass to
 5     chattels, conversion, and CLRA violations. See supra Claims 1-5.
 6            126.    Cryoport also acted unfairly and fraudulently through its unfair, deceptive, untrue or
 7     misleading advei-tising and representations to Plaintiffs and the public.
 8            127.    Unfair, deceptive, untrue, or misleading advertising under the UCL means:
 9            For any person, ...corporation ... or any employee thereof with intent directly or indirectly
10            to dispose of real or personal propei-ty or to perform services ...or to induce the public to
              enter into any obligation relating thereto, to make or disseminate ... before the public in
11            this state, ... in any newspaper or other publication ... or in any other manner or means
              whatever ... any statement, concerning that real or personal propei-ty or those services .
12
              which is untrue or misleading, and which is known, or which by the exercise of reasonable
13            care should be known, to be untrue or misleading....

14            Cal. Bus. & Prof. Code § 17500.
15
              128.    Cryoport's conduct is unfair and fraudulent in violation of the UCL because it is immoral,
16
       unethical, unscrupulous, oppressive, and substantially injurious.
17
              129.    Cryoport voluntarily took responsibility for safeguarding Plaintiffs' embryos, and
18
       Plaintiffs and the public concerning the services it provided, specifically in the quality of care it
19
       use to safely transport eggs and embryos. In particular, Cryoport advertised on its website the fol
20
       misleading or untrue statements:
21
                      a.      "We incorporate state-of-the-art informatics and data monitoring technology in
22
              our systems to provide near-real time traceability. Clients trust us because our processes are pro
23
              to maintain both Good Manufacturing Practice (GMP) and Good Distribution Practice (GD
24
              standards no matter the material type."
25
                      b.      "At Cryoport Systems, we are dedicated to setting the industry standard for quali
26            and safety in the temperature-controlled supply chain. Our comprehensive approach to ris
27
              mitigation ensures the highest level of reliability across our entire platform of supply
28            solutions."

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 1                    c.       Witli otir platform of scalable, risk-mitigation solutions, innovative technology,
 2            dedicated team of people, Ciyoport Systems is committed to going above and beyond to en
 3            the outcomes for the advancing life sciences industry."
 4                    d.      "Our exclusive courier services are the most reliable on the market, and our cutting
 5            edge technology, equipment, and standardized procedures ensure that patient materials arri
 6            safely and securely."
 7                    e.      "At Cryoport Systems, we understand the criticality and responsibility involved i
 8            the management of valuable materials for the life sciences. In many cases, we're dealing wit

 9            irreplaceable therapies, vaccines, research materials, and reproductive materials for our clients an

10            partners.
11                    f.      "Ciyoport Systems sets the standard for quality and safety in the tempera
12            controlled supply chain"

13            130.    Cryoport knew or should have known through the exercise of reasonable care that th
14     statements were untrue or rnisleading. For example, Cryoport represented to Plaintiffs and the public tha
15     their courier services are "the most reliable on the market," which was demonstrably untrue given the los:
16     of Plaintiffs' embiyos, and there is no evidence that Cryoport had the procedures in place to verify
17    I this statement was true.
18             131.   The gravity of the harm resulting from Cryoport's unlawful, unfair, and fraudulent

19     outweighs any potential utility of the conduct. There are reasonably available alternatives that woul
20     further Cryoport's business interests, such as implementing standardized procedures to ensure saf

21     delivery of the property entrusted to it and properly training employees, and not misrepresenting th

22     procedures and protections in place to protect Plaintiffs' embryos.

23             132.   The harm from Ctyoport's unlawful, unfair, and fraudulent conduct was not reasonabl

24     avoidable by Plaintiffs. Plaintiffs had no reasonable means of discovering the inadequacies in Cryoport'

25     procedures to handle the transport of human reproductive materials.

26             133.    As a direct and proximate result of Cryoport's unlawful, unfait•, and fiaudulent conduct,

27     Plaintiffs have lost invaluable property, their embryos, wliich are treated as propei•ty under California law.
28


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 1     Plaintiffs also lost money, including the money spent on their IVF treatment, testing to confirm
 2    embryos were destroyed, and costs related to the genetic testing of their subsequent pregnancy.
i                                               PRAYER FOR RELIEF
4                WHEREFORE, Plaintiffs respectfiilly request the Court enterjudgment against Defendant thrc
 5    an order:
 6                      a.     Declaring that the Defendant's conduct violates the laws and standards referenced
 7                             above;
 8                      b.     Finding in favor of Plaintiffs on all counts asserted herein;

 9                      c.     Granting Plaintiffs compensatory, restitutionary, rescissory, general, consequential,
10                             punitive damages and/or exemplary damages in an amount to be determined at trial;
11                      d.     Enter appropriate equitable relief,
12                      e.     Awarding prejudgment and post judgment interest on all amounts awarded to the
13                             fullest extent allowed under the law;

14                      f.     Awarding Plaintiffs their reasonable attorneys' fees, expenses, and costs of suit as
15                             permitted by law; and
16                      g.     Such other and further relief as the Court deems necessary or appropriate.
17                                          DEMAND FOR JURY TRIAL

18               NOTICE IS HEREBY GIVEN that Plaintiffs herein demand trial by juiy in the above-entitled

19     action.
20

21     Dated: August 9, 2024                           Respectfully submitted,

22
                                                       /s/ Adam E. Polk
23                                                     Dena C. Sharp (State Bar No. 245869)
24                                                     dsharp@girardsharp.com
                                                       Adam E. Polk (State Bar No. 273000)
25                                                     apollc@girardsharp.com
                                                       Nina Gliozzo (State Bar No. 333569)
26                                                     ngliozzo@girardsharp.com
27                                                     Samhita Collur (State Bar No. 348448)
                                                       scollur@girardsharp.com
28                                                     GIRARD SHARP LLP
                                                       601 California Street, Suite 1400

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                                         San Francisco, CA 94108
                                         Telephone: (415) 981-4800
2                                        Facsimile: (415) 981-4846
 3                                       Attorneysfor Plaintiffs
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                                              EXHIBIT 1
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   CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
  S.W. and V.W., declare as follows:
        1.     We have personal knowledge of the facts stated herein and, if called
  upon to do so, could competently testify thereto.
        2.     We are the Plaintiffs in the above-captioned action.
        3.     We are residents of Ladera Ranch, Califomia.
        4.     We submit this declaration in support of the Complaint, which is
  based in part on violations of the Consumers Legal Remedies Act, California Civil
  Code section 1750 et seq.
        5.     The complaint has been filed in the proper place for trial under
  California Civil Code Section 1780(d).
        6.     Defendant Cryoport, Inc. does business in Orange County, California
  where a substantial portion of the acts and omissions at issue occui-red.
        7.     We purchased transportation services from Defendant in California.


        I declare under penalty 'of perjury under the laws of the United States and the
  State of California that the foregoing is true and correct to the best of my
  knowledge. Executed on July 18, 2024 in Ladera Ranch, California.


                                                               /s/ S. W.
                                                                   S.W.

        I declare under penalty of perjury under the laws of the United States and the
  State of California that the foregoing is true and correct to the best of my
  knowledge. Executed on July 18, 2024 in Ladera Ranch, California.


                                                                /s/V.W.
                                                                  V.W.
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                                              EXHIBIT 2
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                                               July 8, 2024

  VIA CERTIFIED MAIL

  Sarah C. Trankiem
  Sarah.Trankiem@btlaw.com
  2029 Centuiy Park East, Suite 300
  Los Angeles, CA 90067



         Re:     Notice of Legal Violation:
                 Cryoport's Mishandling of Frozen Embryos

         Girard Sharp LLP represents -          and              , a married couple who purchased
  Cryoport, Inc.'s ("Cryoport") transportation services to move six healthy and viable frozen
  embryos from fertilit center in San Francisco to another fertility center in Irvine, Califonia. In
  October 2023, a            engaged Cryoport to transport their frozen embryos in advance of a
  planned frozen embryo implantation rocedure. Cryoport staff failed to properly monitor and
  handle the shipper containing             ' frozen embryos and exposed the einbryos to an
  uncontrolled thaw, thereby damaging or destroying the embryos.

                      - liave now learned that Cryopoi•t's representations regarding the quality of
  their transportation services and staff are false and misleading. Generally, Cryoport represents
  that it provides a high quality of care in transporting human reproductive materials like embryos,
  such as statements that "[o]ur exclusive courier services are the most reliable on the market, and
  our cutting-edge teclvnology, equipment, and standardized procedures ensure that patient
  materials arrive safely and securely." Cryoport also makes representations about the quality and
  training of its employees, and states "all of our staff involved in the packaging and shipping
  process is highly trained to handle reproductive materials specifically." Furthermore, Cryoport
  represents in the "Cryoport Systems Shipping Quote" that it provides "reassurance and support
  as you take the next step towards building your family" and "continuously collect[s] and
  nionitor[s] data throughout the entire transport." Tragically,             ' embryos were not
       erl monitored and were ultimately transported in a manner that destroyed their viability.
  i             would not have purchased Cryoport's transportation services or experienced
  significant distress at the outcome had they known the truth of the unsafe conditions allowed to
  exist within Cryoport's business.
         With this letter, -          request that Cryoport take prompt action to remedy this
  problem.




       (415) 981-4800            601 California Street, Suite 1400     www.girardsharp.corn
                                     San Francisco, CA 94108
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                                 STATEMENT OF VIOLATIONS

          Companies such as Cryoport violate California's Consumer Legal Remedies Act
  ("CLRA"), Cal. Civ. Code § 1750 et seq., when they engage in false, misleading, or deceptive
  practices in connection with transactions, including the sale of transportation services for
  irreplaceable life sciences materials like embiyos.
         Cryoport has violated the CLRA by:

         •       Representing that services have sponsorship, approval, characteristics, uses,
                 beiiefits, or quantities wliich they do not have;
         •       Representing that services are of a particular standard, quality, or grade, if they
                 are of another;
         •       Advertising services with intent not to sell them as advertised;
         •       Representing that services have been supplied in accordance with a previous
                 representation when they have not.

          If Cryoport does not take prompt action, -            intend to bring claims for monetary
  relief under the CLRA.

         Please direct all communications or responses regarding this notice to the following
  counsel:

                 GIRARD SHARP LLP
                 Adam E. Polk (SBN 273000)
                 Nina R. Gliozzo (SBN 333569)
                 Samhita Collur (SBN 348448)
                 601 California Street, Suite 1400
                 San Francisco, CA 94108
                 Tel: (415) 981-4800
                 Email: apolk@girardshaip.com
                 Email: ngliozzo@girardsharp.com
                 Email: scollur@girardsharp.com

                                     REOUESTED REMEDIES

                        DEMAND THAT WITHIN THIRTY DAYS after this notice is served
  on you, you remedy yo.ur violations by doing the following:
         A.      Provide               payments to compensate their lost embryos, emotional
                 distress caused by that loss, as well as any consequential costs; and
                 reimbw•sement of the purchase price attributable to the purported quality of
                 Ci•yopot•t's transportation services.
         B.      Pay into an escrow account an amount of money sufficient to pay -'
                 attorneys' fees and costs.
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  Please contact us within thirty days to discuss Cryoport's implementation of these remedies.
  Furthermore, please acknowledge receipt of this letter by emailing the attorneys listed above.



                                               Sincerely,

                                               GIRARD SHARP LLP

                                                  ,i1    '
                                                   L-C
                                               Adam E. Polk
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                                 SUPERIOR COURT OF CALIFORNIA
                                      COUNTY OF ORANGE

                         ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE


 NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

 Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the
 ADR Information Package along with the complaint and/or cross-complaint.

                                  California Rules of Court — Rule 3.221
                         Information about Alternative Dispute Resolution (ADR)

 (a) Each coui-t shall lnake available to the plaintiff, at the tiine of filing of the complaint,
 an ADR Information Package that includes, at a minimum, all of the following:

      (1) General information about the potential advantages and disadvantages of ADR
      and descriptions of the principal ADR processes.

      (2) Information about the ADR programs available in that court, including citations to
      any applicable local court rules and directions for contacting any court staff
      responsible for providing parties with assistance regarding ADR.

      (3) Information about the availability of local dispute resolution programs funded
      under the Dispute Resolutions Program Act (DRPA), in counties that are
      pai-ticipating in the DRPA. This information may take the form of a list of the
      applicable programs or directions for contacting the county's DRPA coordinator.

      (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR
      process.

  (b) A court may make the ADR Information Package available on its website as longas
  paper copies are also made available in the clerk's office.

  (c) The plaintiff must serve a copy of the ADR Information Package on each defendant
  along with the complaint. Cross-complainants must serve a copy of the ADR
  Information Package on any new parties to the action along with the cross-complaint.




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                                SUPERIOR COURT OF CALIFORNIA
                                     COUNTY OF ORANGE

                                             ADR Information
  Introduction.

 Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
 The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
 resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
 a trial. ADR can also give people more opportunity to determine when and how their dispute will be
 resolved.

  BENEFITS 0F ADR.

  Using ADR may have a variety of benefits, depending on the type of ADR process used and the
  circumstances of the particular case. Soine potential benefits of ADR are summarized below.

  Save Time. A dispute often can be settled or decided much sooner with ADR; often in a inatter of
  months, even weeks, while bringing a lawsuit to trial can take a year ormore.

  Save Money. Wlien cases are resolved earlier through ADR, the parties may save some of the inoney
  they would liave spent on attorney fees, court costs, experts' fees, and other litigation expenses.

  lncrease Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
  sliaping botli the process and its otrtcome. ln inost ADR processes, parties have more opportunity to tell
  their side of the story than they do at trial. Sotne ADR processes, such as mediation, allow the parties to
  fasliion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration,
  allow the parties to choose aii expert in a particular field to decide the dispute.

  Preserve Relationships. ADR caii be a less adversarial and hostile way to resolve a dispute. For
  example, an experienced mediator caii help the parties effectively communicate their needs and point of
  view to the other side. This can be an important advantage where the pa►-ties have a relationsliip to
  preserve.

  Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to be
  liappy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
  find win-win solutions and achieve their real goals. This, along witli all of ADR's other potential
  advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
  outcoiiie.

  I►nprove Attorney-Client Relationships. Attorneys may also benefit fi•om ADR by being seen as problem-
  solvers ratlier than combatants. Quick, cost-effective, and satisfying resolutions are Iikely to produce
  happier clients and thus generate repeat business fi•om clients and referrals of their fi•iends and associates.

  DISADVANTAGES 0F ADR.

  ADR may not be suitable for every dispute.

  Loss of protections. If ADR is binding, the parties normally give up most cotirt protections, including a
  decisioii by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
  appellate court.


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  Less discovery. There generally is less opportunity to find out about the other side's case with ADR
  than with litigation. ADR may not be effective if it takes place before the parties have sufficient
  information to resolve the dispute.

  Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
  through ADR, the parties may have to put time and money into both ADR and a lawsuit.

  Effect of delays if the dispute is iiot resolved. Lawsuits must be brought within specified periods of
  time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
  a dispute is in an ADR process.

  TYPES OF ADR IN CIVIL CASES

  The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
  conferences.

  Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
  each side and then decides the outcoine of the dispute. Arbitration is less formal than a trial, and the rules
  of evidence are ofteii relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
  ineans that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
  Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the
  parties are free to request a trial if they do not accept the arbitrator's decision.

      Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
      want anotlier person to decide the outcome of their dispute for thein but would like to avoid the
      formality, time, and expense of a trial. lt may also be appropriate for complex matters where the
      parties want a decision-maker wlio has training or experience in the subject matter of the dispute.

      Cases for Wliicli Arbitration May Not Be Appropriate. If parties want to retain control over how
      their dispute is resolved, arbitration, particularly binding arbitration, is iiot appropriate. In binding
      arhitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
      evidence or the law. Eveii in nonbinding arbitration, if a party requests a trial and does not receive a
      iiiore favorable result at trial than in arbitration, there inay be penalties.

  Mediation. In mediation, an iinpartial person called a"►nediator" helps the parties try to reach a mutually '
  acceptable resolution of the dispute. The inediator does not decide the dispute but helps the pai-ties
  communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
  witli the parties.

      Cases for Wliicli Mediation May Be Appropriate. Mediation inay be particularly useful when
      parties liave a relationship they want to preserve. So wlien family members, neighbors, or business
      pai•tners have a dispute, inediation inay be the ADR process to use. Mediation is also effective wlieii
      emotions are getting in the way of resolurtion. An effective mediator can hear the parties out and lielp
      them co►nmunicate with each otlier in an effective and nondestructive manner.

      Cases for Whicli Mediation May Not Be Appropriate. Mediation iiiay not be effective if one of the
      parties is unwilling to cooperate or coinproiiiise. Mediatioii also may iiot be effective if one of the
      parties has a signiflcant advaiitage in power over the other. Therefore, it inay not be a good choice if
      the parties have a history of abuse or victimization.

  Neutral Evaluation. In neutral evaluation, eacli party gets a chance to present the case to a neutral
  person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
  eacli party's evideiice and arguments and about how the dispute could be resolved. The evaluator is


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  often aii expert in the subject rnatter of the dispute. Although the evaluatot-'s opinion is not binding, the
  parties typically use it as a basis for trying to negotiate a resolution of the dispute.

      Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
      appropriate in cases in which there are teclinical issues that require special expertise to resolve or
      the only significant issue in the case is the amount of damages.

      Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
      appropriate when there are significant personal or emotional barriers to resolving the dispute.

  Settlement Conferences. Settlement conferences inay be either mandatory or voluntary. In botli types
  of settlement conferences, the parties and their attorneys ►neet witli a judge or a neutral person called a
  "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
  not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
  case and in negotiating a settlement. Settlement conferences are appropriate in any case where
  settleinent is an option. Mandatory settlement conferences are often held close to the date a case is set
  for trial.

  ADDITIONAL INFORMATION.

  ln addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
  of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
  a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
  likely to resolve yow- dispute.

  To locate a dispute resolution program or neutral in your community:
      •   Coiitact the California Department ofConsumer Affairs, Constnner Information Center, toll fi•ee, at
          1-800-852-5210
      •   Coiitact the Orange County Bar Association at (949) 440-6700
      •   Lookinthetelephonedirectoriestmder"Arbitratois"or"Mediators"

  Low cost mediation services are provided under the Orange County Dispute Resolution Program Act
  (DRPA). For information regarding DRPA, contact:
            OC Human Relations (714) 480-6575, mediator@ochumanrelations.org
            Waymakers (949) 250-4058

  For information on the Superior Court of California, County of Orange court ordered arbitration program,
  refer to Local Rule 360.

  The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
  (ENE). For the Civil Mediation program, mediatoi•s on the Court's panel liave agreed to accept a fee of
  $300 for up to the fii•st two hours of a mediation session. For the ENE program, members of the Court's
  panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
  information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE)
  programs is available on the Court's website at www.occourts.org.




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ATTORNGY OR PARTY WI'11 IOU.I. A'f'I.ORNEY:      STA'I•E BAR NO.:                                        FOR COURT USE ONLY
NAME:
FIRM NAME:
S'I'REEI' ADDRIiSS:                                                                                i    ''' i I ' i +~ ` li
CITY:                                            STA"I'E:             ZIP CODE:                  al~ii pr~Vc.Cy, fJ1C?Lse
TELEI'I-IONE NO.:                                FAX NO.:                                        ~7-e1 j        e Cle.F)t' TI'145
E-MAIL ADDRESS:
AT"I'ORNEY FOR (name):                                                                           ~ oi7"I ?U1.;r? :3.~ Lt: 3' 'Cit'
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SUPERIOR COUR"1- OF CALIFORNIA, COUNTY OF ORANGE                                                 ("C3111~
.IUSTICE CENTER:
❑ Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
❑ Civil Complcs Ccntcr - 751 W. Santa Ana Blvd.. Santa Ana. CA 92701-4512
❑ Harbor - Ncwport Bcach Facility — 4601 .lamborce Rcl., Ncwport Beach, CA 92660-2595
❑ North — I275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
❑ West — 8141 13"' Street, Westminster, CA 92683-4593

PLAINTI FF/PETITI ON ER:

DEFENDANT/RESPON DENT:
                                                                                              CASE NUMBER:
ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


 Plaintiff(s)/Petitioner(s),




 and defendant(s)/respondent(s),



 agree to the following dispute resolution process:

 ❑ Mediation

 ❑    Arbitt•ation (must specify code)
                     ❑ Under section 1 141.11 of the Code of Civil Procedure
                     ❑ Under section l 280 of the Code of Civil Procedure

 ❑ Neutral Case Evaluation

 The ADR pt•ocess tnust be completed no latet• than 90 days after the date of this Stipulation or the date the case
 was referred, whichever is sooner.

 ❑ I have an Order on Coui-t Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to
 provide pro bono setvices.

 ❑ The ADR Neutral Selection and Party List is attaclied to this Stipulation.

 We undet•stand that there tnay be a charge for services provided by neutrals. We understand that participating in
 an ADR process does iiot extend the time periods specified in California Rules of Court, rule 3.720 et seq.


 Date:
                                   (SIGNATURE OF PLAINTIFF OR ATTORNEY)                 (SIGNATURE OF PLAINTIFF OR ATTORNEY)



 Date:
                                   (SIGNATURE OF DEFENDANT OR ATTORNEY)                 (SIGNATURE OF DEFENDANT OR ATTORNEY)


                               ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
 Approved for Optional Use                                                                           California Rtdes of Court. rule 3.221
 L I270 (Rev. March 2019)
